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   Second Quarterly Status Report to the
   Court Pursuant to Monitor Order
   Paragraph 22
   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK

   Securities and Exchange Commission v. Richard Xia, a/k/a Yi Xia; and Fleet New York
   Metropolitan Regional Center, LLC, f/k/a Federal New York Metropolitan Regional Center,
   LLC, Defendants,

   and

   Julia Yue, a/k/a Jiqing Yue; Xi Verfenstein; and XinMing Yu, Relief Defendants

   21-cv-05350-PKC-LCP




    ArentFox Schiff LLP | 1301 Avenue of the Americas, New York, NY 10019 | T 212.484.3909 | scott.peeler@arentfox.com
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   Introduction

             The Monitor submits this second quarterly status report in accordance with Paragraph 22

   of the Order Appointing Monitor (“Monitor Order”),1 for the period ending on March 31, 2022

   (“Second Quarter”). Since his last report, the Monitor continued to focus on the most significant,

   time sensitive, and urgent needs of the Projects and investors while working diligently to minimize

   costs.2

   Paragraph 11(b) Report and Order to Show Cause Hearing

             The Monitor filed his Paragraph 11(b) Report regarding the status of Eastern Emerald and

   Eastern Mirage (collectively, the “Projects”) on January 28, 2022 (the “11(b) Report”).3 Following

   that submission, the Monitor prepared for, attended, and testified on February 16, 2022 at the Order

   to Show Cause Hearing.4

   EB-5 Questions

             During the Monitor’s testimony, he expressed concern regarding Richard Xia’s (“Xia”)

   proposed changes to the Eastern Emerald Project to the extent they might create various legal

   issues and/or put the Eastern Emerald investors’ visa eligibility at risk.

             The Monitor subsequently began and continues productive conversations with United

   States Citizenship and Immigration Services (“USCIS”) attorneys to discuss this issue and what

   impact, if any, various courses of action would have on investors’ applications for permanent green

   cards. Based on those conversations, the Monitor now believes that should it become necessary,

   his appointment as the receiver for the Projects would not negatively impact any pending

   applications.


   1
     See ECF No. 11-1.
   2
     The Monitor’s services will be further detailed in his upcoming Fee Application to this Court.
   3
     See ECF No. 53.
   4
     See Transcript of Order to Show Cause Hearing at 521-626, ECF No. 84-3.
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           The Monitor also notes that on March 15, 2022, President Biden signed an omnibus

   appropriations bill that included reauthorization of the EB-5 Program. The Monitor’s team is

   actively reviewing whether and how the newly reauthorized Program impacts the investors.

   Additional Priority Items

           The Monitor continued to focus on protecting the investors’ interests in the Projects and

   assets. These efforts included: (i) reviewing the status of insurance on the Projects and seeking

   coverage and competitive rates for Comprehensive General Liability and Builder’s Risk insurance

   from independent carriers; (ii) addressing outstanding violations and penalties the New York City

   Department of Buildings (“DOB”) assessed against the Projects; (iii) vetting third-party financing

   Xia proposed for the Projects and identifying other potential funding sources to help pay for

   Project-related needs; and (iv) investigating the impact of certain loans Xia and/or the Xia Entities

   obtained in exchange for collateralizing investor assets and the Projects.

           Insurance Coverage

           As described more fully in a motion soon to be filed with the Court, the Monitor believes

   it is in the best interests of the investors – and all parties – that insurance on the Projects be secured

   as quickly as possible. The Monitor worked diligently to obtain proper insurance coverage from

   independent, third-party insurance providers that sufficiently addresses the current needs of the

   Projects.5 This process has been time consuming due to several factors, including but not limited

   to: (a) Xia and his former counsel’s failure to provide timely information and to meaningfully

   assist our efforts; (b) the continuing, large number of violations issued against the Projects by the

   DOB; (c) continuing work on the Projects despite multiple stop work orders from the DOB, the



   5
    As a captive insurance company, Fleet General Insurance Group, Inc. (“FGIG”) was not an acceptable option for
   many reasons, including but not limited to the allegation that its account was used to facilitate the purchase of a
   mansion. See SEC Amended Complaint ¶ 173, ECF No. 98.

                                                           2
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   possibility that insurance coverage had lapsed, and known hazardous conditions on site which have

   yet to be remediated despite multiple requests by the Monitor; and (d) a lack of interested

   independent insurance companies.6 Another complication has been that Builder’s Risk insurance

   is typically secured at the beginning of a project, and it is highly unusual for a policy to be issued

   at the late stage of construction at Eastern Mirage. As a result, insurance carriers needed to conduct

   time-consuming, supplementary due diligence before determining whether to provide coverage

   quotes.

             For each Project, the Monitor reviewed with willing third-party insurance professionals the

   risks involved and what coverage they recommended. Only in the last few days have we obtained

   sufficient proposals independent of the Defendants to recommend a course of action to the Court.7

             Payment of Property Taxes

             The Monitor applied to the Court at the Securities and Exchange Commission’s (“SEC”)

   and Defendants’ request in December 2021 for an Order unfreezing investor funds to the extent

   necessary to pay past due and current New York City real estate taxes.8 As stated in that motion,

   future New York City real estate property tax payments are due every six (6) months.9 The Monitor

   will soon be applying to the Court for the release of funds for both Projects to pay New York City

   real estate property tax payments that are due in June 2022.

             In connection with Eastern Mirage, the Loan Agreement (“Loan Agreement”), dated as of

   August 31, 2021, between Emerald Creek Capital 3, LLC (“Emerald Creek”) and X&Y




   6
     Many insurers were unwilling to issue policies on the Projects given the DOB’s identification of “hazardous
   conditions” and Xia’s failure to correct them. See Transcript of Order to Show Cause Hearing at 534:1-535:14, ECF
   No. 84-3. The Monitor notes that such DOB violations continue – the most recent of which was issued against Eastern
   Mirage on April 13, 2022.
   7
     The Monitor will soon be applying to the Court with a detailed proposal for insurance coverage for the Projects.
   8
     See ECF No. 36, and 11(b) Report § II.E.(i), ECF No 53.
   9
     See ECF No. 36 ¶ 20.

                                                           3
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   Development Group, LLC (“X&Y”), requires Emerald Creek to pay the property taxes from an

   escrow account Emerald Creek maintains.10 Under the terms of the Loan Agreement, the sum of

   $1,170,000.00 (“Tax Escrow”) was deposited into an escrow account called the Reserve Account

   (“Reserve Account”). (See Loan Agreement § 1.33 and § 2.5(b)). The Loan Agreement authorizes

   Emerald Creek to “release [from] the Tax Escrow as needed to cover any such payments as they

   become due with respect to the Property.” (Loan Agreement § 2.5(b)). The Monitor will be

   applying to the Court to grant Emerald Creek permission for the release of funds for New York

   City real estate property tax payments that are due in June 2022.

           Project Violations and Safety Issues

           The Monitor continues to review and work to resolve violations issued against the Projects

   by the DOB. He and his team routinely communicate with Defendants regarding the violations.

   Specifically, the Monitor identified certain New York City Environmental Control Board (“ECB”)

   judgments11 that qualified under New York City’s Fine and Interest Reduction Enabling Recovery

   (FAIRER) Program. Initially, Xia supported the Monitor’s proposed motion to this Court to release

   funds to pay these violations at a much-reduced rate. Shortly thereafter, Xia communicated to the

   Monitor that he would no longer support the proposed motion. Thus, the Monitor and his team

   began direct communications with the DOB and the City’s Law Department and are in negotiations

   to resolve a significant number of these violations under favorable financial terms.

           CTBC Loans

           The Monitor continues to work with CTBC Bank (“CTBC”) regarding the loans it issued

   to Xia and certain Xia Entities that appear to be in default. The Monitor is aware of five (5) loans,


   10
     Id., Declaration of M. Scott Peeler (“Peeler Decl.”) Ex. A., ECF No. 36-1.
   11
     ECB judgments are based on violations the DOB issues against properties that fail to comply with New York
   City’s Building Code or Zoning Regulations. The ECB provides administrative hearings for certain violations issued
   by New York City agencies, renders judgment, and collects penalties.

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   totaling roughly $20 million, that CTBC issued to Xia/Xia Entities at various points throughout

   2021.

           According to CTBC, there are approximately $6 million in real estate loans secured by

   Rental Income. This $6 million is comprised of three (3) real estate loans that were issued to (a)

   Shangri-La Green, Inc.; (b) Shangri-La 9F, Inc.; and (c) Manekineko Group, LLC.12 Upon

   information and belief, these properties were purchased by Xia prior to 2010. The Monitor has not

   been able to determine whether Xia has been using investor funds to pay outstanding debts and/or

   liabilities on those properties.

           There are approximately $14 million in term certificate of deposit (“TCD”) loans. The

   Monitor believes the two (2) CD accounts used to obtain the TCD loans are investor funds.

   Additionally, as alleged in the SEC’s Amended Complaint, Xia used the proceeds of these loans

   to purchase two (2) properties, 5 Vanderbilt Drive for $4,337,778 and 144 Kings Point Road for

   $14,000,000.13

           a) Eastern Emerald Group LLC (“EEG”) TCD Loan: The CD account in the name of

   EEG contains the tax credit funds that New York State issued to EEG for its Brownfield

   remediation work. The TCD loan linked to the EEG CD was for $10,986,000 and matured on April

   8, 2022. The use clause indicates that the loan is for “working capital and/or future investments.”

           b) Fleet General Insurance Group, Inc. TCD Loan: The Monitor also has reason to believe

   the CD account in the name of FGIG contains investor funds. The Monitor has asked Xia and his

   counsel on multiple occasions to explain the origin of these funds. The TCD loan linked to the




   12
      The Monitor is also aware that there may be an outstanding mortgage issued by Cathay Bank on at least one of
   these properties.
   13
      See SEC Amended Complaint ¶¶ 96, 173, ECF No. 98.

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   FGIG CD was for $4,500,000 and matures on August 9, 2022. The use clause indicates that the

   loan is for “working capital.”

           The Monitor continues active discussions with CTBC and Defendants, and discussions to

   resolve this matter are ongoing.14

           Potential Third-Party Financing

           The Monitor previously reported that the Defendants proposed two different third-party

   sources of potential financing and provided draft documents outlining the proposed draft terms for

   each option.15 In response, the Monitor and the SEC raised various issues and questions regarding

   these proposals and the entities behind them. Those questions have not yet been answered, and the

   Defendants have now begun discussing a third potential source of financing. Those conversations

   are ongoing, and the Monitor is awaiting additional information from Defendants. It is not yet clear

   whether such financing is viable.

           Defendants’ Payment Requests

           As identified in the First Quarterly Status Report, Defendants forwarded for the Monitor’s

   review various requests for payments to employees.16 Xia provided the Monitor with limited

   information to support his requests. The Monitor asked Xia to provide supporting documentation,

   such as job descriptions, dates of employment, proof of work authorization, credentials and prior

   experience, benefits provided, employment contracts, and relationship to Xia or Yue. The Monitor

   has yet to receive any of these materials.




   14
      The Monitor is gravely concerned that interest continues to be charged and the investor funds referenced above
   are at risk.
   15
      See 11(b) Report § II.E.(v), ECF No. 53.
   16
      See First Quarterly Status Report, ECF No. 55.

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   Status Relating to Paragraphs 8 through 1417

           The Monitor reviewed documents and information – to the extent Defendants made them

   available – pertaining to Paragraphs 8 through 14 of the Monitor Order.18

           Paragraphs 8-10 (Documents).                The Monitor’s efforts to obtain documents and

   information from Defendants, and the challenges Defendants and their counsel presented, are

   detailed in the 11(b) Report, the First Quarterly Status Report, and in the Monitor’s testimony at

   the Order to Show Cause Hearing. Due to the challenges, the Monitor demanded the completion

   of the document production, together with an affidavit from Xia and other Defendants on or before

   February 28, 2022 that declares under penalty of perjury that for each enumerated request,

   everything in his/their possession, custody, or control has been produced to the Monitor. Xia

   provided the declaration, in which he represented that he provided the Monitor with documents

   from the sections I(1)(d), III(D)(2), III(D)(3), and III(D)(5) of Monitor’s First Request for the

   Production of Documents/Information. Upon review, the Monitor determined that Xia had not

   provided the necessary documents to satisfy those sections. The Monitor again asked Xia to review

   his documents and materials and provide information sufficient to satisfy these requests as soon

   as possible. Xia has yet to provide any additional information.

           Paragraph 11(a) (Finances). The Monitor continued to review the finances and operations

   of Fleet and the Xia Entities – to the extent Defendants provided relevant information. This

   included necessary but time-consuming efforts to collect and analyze the revenue generated by the

   rental properties Xia and the Xia Entities own (the “Rental Properties”). To that end, the Monitor

   focused on creating a comprehensive list of the properties, including, but not limited to, for each



   17
      Monitor Order Paragraph 15 describes the timely access to which the Monitor is to be provided documents and
   information.
   18
      Id.

                                                          7
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   property: (i) the monthly and annual rental income; (ii) the associated costs; (iii) method(s) of

   collecting and using the rental income since September 27, 2021; (iv) method(s) of collecting and

   using the rental income between January 1, 2021 and September 27, 2021; (v) the appraised value;

   (vi) owner(s) and date purchased; (vii) all outstanding debt; and (viii) all creditors and lien holders.

   On March 18, 2022, counsel for Xia provided a summary of many of the requested materials,

   including expected revenues and expenses on an annual and monthly basis of each Rental Property,

   mortgages on each Rental Property, and information on other properties associated with Xia. The

   Monitor continues to review that information for completeness.

           Paragraph 11(b) Report. As described above, the Monitor reported on the status of the

   Projects, and made his recommendations regarding same, in Sections II and IV of the 11(b) Report.

           Paragraph 11(c) (Corporate Transactions). The Monitor’s review of the limited

   historical corporate transactions by Fleet or the Xia Entities – to the extent Defendants provided

   relevant information – is summarized in Section II of the 11(b) Report.

           Paragraph 11(d) (Historical Compensation). Defendants provided the Monitor only with

   certain historical compensation of Fleet’s former Chief Legal Officer, Bret McCabe.19 The

   Monitor was unable to verify this information. Defendants did not provide the Monitor with the

   historical compensation of any other executive officers or affiliates of Fleet and the Xia Entities.

           Paragraph 11(e) (Numerous Law Firms). Since the Court appointed the Monitor on

   September 27, 2021, Xia has been represented by at least five (5) law firms: Sullivan & Cromwell

   LLP, Mukasey Frenchman LLP, WilmerHale, Sills Cummis & Gross P.C., and Kameli &

   Associates. Most recently, the Monitor was contacted by attorneys from Schulte Roth & Zabel

   LLP, who indicated that Xia would like to provisionally retain them.


   19
     On February 10, 2022, the Monitor was informed that Bret McCabe would no longer serve as Fleet’s Chief Legal
   Officer.

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               The Monitor is aware of unpaid and outstanding invoices from these attorneys and others

    representing the Xia Entities that now exceed $2.6 million. The Monitor is deeply concerned that

    Xia’s pattern of replacing counsel without payment is a delay tactic in this litigation which

    continues to impede and make inefficient the work of the Monitor and his team.

               Paragraph 11(f) (Financial Statements). The Monitor’s review of financial statements

    of Fleet and the Xia Entities – to the extent Defendants provided relevant information – is detailed

    in Section II of the 11(b) Report.

               Paragraph 11(g) (Meeting Minutes). Defendants have not provided the Monitor with any

    meeting minutes of the Boards of Directors of Fleet and the Xia Entities.

               Paragraphs 11(h)-(i) (Litigations). The Monitor’s review of litigation involving Fleet and

    the Xia Entities is summarized in Exhibit A to the 11(b) Report.20 An additional class action suit,

    Jin, et al. v. Xia, et al., was filed against Xia, Yue, and multiple Xia Entities in this Court on

    February 18, 2022.21

               Paragraph 11(j) (Leases). Defendants have not provided the Monitor with any (proposed)

    material changes to material leases or real estate holdings of Fleet and the Xia Entities.

               Paragraph 11(k) (Insurance Information). After careful review of the insurance

    information provided by Defendants, the Monitor determined that the Projects were not adequately

    insured by either Commercial General Liability (“CGL”) or Builder’s Risk insurance. It appears

    that X&Y (owner of Eastern Mirage) and EEG (owner of Eastern Emerald) initially obtained CGL

    insurance through FGIG, a Vermont entity created and controlled by Defendant Xia, to provide




    20   Peeler Decl. Ex. A, ECF No 53-1.
    21
         See Jin v. Xia, Case No. 1:22-cv-00740-WFK-VMS (E.D.N.Y.).


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    CGL insurance for the Projects.22 Using a captive insurance company,23 Xia’s plan was to self-

    insure the Projects using investor funds to pay premiums.24

             It does not appear that the Defendants ever secured Builder’s Risk insurance on the

    Projects.25 In December 2021, Defendant Xia provided the Monitor with undated and potentially

    inadequate cancelation notices of the CGL policies for the Projects issued by FGIG.26

    Nevertheless, the Monitor immediately raised questions and concerns regarding the possibility that

    any insurance coverage might have lapsed and sought additional information from Defendants. In

    response, Defendants eventually submitted a proposal to release $1,493,471.85 in frozen funds to

    pay the annual premiums that would continue the CGL insurance and to procure $75 million of

    Builder’s Risk insurance. The Monitor noted with concern that of that amount, $1,088,250.00

    would be paid to FGIG, an entity controlled by Defendant Xia. After careful consideration,

    including certain allegations raised in this Enforcement Action that Defendant Xia used and/or

    transferred investor funds to pay Xia Entities (which include FGIG), and observations of the

    Monitor and his team, the Monitor decided not to proceed with Defendants’ request for the release

    of those funds.

             The Monitor’s efforts to obtain proper insurance coverage from independent, third-party

    insurance providers is discussed below as it falls outside the scope of Paragraph 11(k).




    22
       See SEC Amended Complaint ¶ 170, ECF No. 98.
    23
       A captive insurance company is a wholly owned subsidiary insurer that provides risk-mitigation services for its
    parent company or a group of related companies.
    24
       See 11(b) Report § II.F.iii, ECF No. 53.
    25
       It appears that Defendants first began to pursue possible Builder’s Risk insurance in late 2021 when in connection
    with a $15 million loan transaction, Emerald Creek required it because Defendant Xia provided the bank a first priority
    lien against Eastern Mirage.
    26
       See Transcript of Order to Show Cause Hearing at 623:18-22, ECF No. 84-3.

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               Paragraph 11(l) (Investor Communications). Defendants have not provided the Monitor

    with any investor-wide communications intended to be sent by Fleet and the Xia Entities to

    investors.

               Paragraph 12 (Internal Controls). Defendants have not provided the Monitor with a

    summary report on the internal controls regarding the cash assets of Fleet and the Xia Entities.

               Paragraph 13 (Valuation Reports). Defendants provided five valuation reports regarding

    the Projects to the Monitor.27

               Paragraph 14 (Annual Budget). Fleet and the Xia Entities have not provided the Monitor

    with their annual budget.




    27
         See 11(b) Report. § II.E.(iv), ECF No. 53.

                                                      11
